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 9                        UNITED STATES DISTRICT COURT
10         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
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12   SERGE HAITAYAN, et al.,                      Case No. 2:17-cv-7454 DSF (ASx)
13                      Plaintiffs,               FINAL JUDGMENT IN FAVOR OF
                                                  DEFENDANT/ COUNTER-
14          vs.                                   CLAIMANT
                                                  7-ELEVEN, INC.
15   7-ELEVEN, INC., a Texas corporation,
16                      Defendant.
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19         The remaining claims and counter-claim asserted by the parties in this matter
20   were tried to the Court on March 23 and March 24, 2021. Having heard and reviewed
21   the evidence and having considered the parties’ post-trial submissions, the Court
22   entered its Findings of Fact and Conclusions of Law After Court Trial on September 8,
23   2021, finding for Defendant/Counter-claimant 7-Eleven, Inc. (“7-Eleven”) on all
24   remaining claims asserted by the Plaintiffs in this matter. Dkt. 350. In accordance with
25   those findings, judgment is hereby entered in 7-Eleven’s favor on all of Plaintiffs’
26   remaining claims. 7-Eleven’s Counterclaim (Dkt. 34), which seeks declaratory relief
27   in the event Plaintiffs were deemed employees, and 7-Eleven’s Third-Party Complaint
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 1   (Dkt. 38), which seeks indemnification and declaratory relief from a third party related
 2   to one of the Plaintiff’s claims, are hereby dismissed as moot. Therefore:
 3         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Judgment
 4   is entered in favor of 7-Eleven and against Plaintiffs on Plaintiffs’ First Amended
 5   Complaint. Plaintiffs shall take nothing by way of their First Amended Complaint, and
 6   this action is dismissed with prejudice.
 7         IT IS SO ORDERED.
 8   DATED: October 1, 2021
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                                            Honorable Dale S. Fischer
10                                          UNITED STATES DISTRICT JUDGE
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